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                                  UNITED STATES DISTRICT COURT
                                      DISTRICT OF COLORADO
                                   Alfred A. Arraj United States Courthouse
                                        901 19th STREET, ROOM A1038
                                         DENVER, COLORADO 80294

  WILEY Y. DANIEL                                                             TELEPHONE: (303) 335-2170
  UNITED STATES SENIOR DISTRICT JUDGE                                         TELECOPIER: (303)335-2178




                                        MEMORANDUM

  TO:            Jeffrey P. Colwell, Clerk
                 Attn: Senior Judge Team

  FROM:          Judge Wiley Y. Daniel

  DATE:          December 14, 2017

  RE:            Civil Action No. 17-cv-02992-WYD
                 DETROIT STREET PARTNERS INC. and BIRCHWOOD
                 RESOURCES INC. v. JAMES A. LUSTIG, JAL VENTURES
                 CORPORATION, CLFS EQUITIES, LLLP, UNITED CAPITAL
                 MANAGEMENT, INC., GLOBAL CAP LIMITED, INC., BRANDON
                 PERRY, ULTIMATE VENTURES, INC., JONATHAN MARSICO,
                 HAVEN CAPITAL VENTURES INC., BRETT PERRY, PINEHURST
                 CAPITAL, INC., WILLIAM SANDLER, RANCHO HOLDINGS, LLC,
                 ANDREW HARRISON, JZ CAPITAL, LLC, SAMUEL ZAITZ, SMM
                 INVESTMENTS, INC., STEWART “SKIP” MILLER, ARROWHEAD
                 INVESTMENTS, INC., STEVE SHOFLICK, ALTERMAN
                 HARRISON INVESTMENTS, INC., BENNETT PAUL “BUZZ”
                 ALTERMAN, ALLIED FUNDING, INC., RIO NORTE CAPITAL,
                 INC., KEN LANDE, MESA INVESTMENT PARTNERS, LLC, TODD
                 J. EBERSTEIN, JMC CAPITAL, INC., JAKE COHEN, PEAK
                 CAPITAL PARTNERS INC., RICKI REST, JAF HOLDINGS INC.,
                 JAN FALBER, PREAKNESS CAPITAL MANAGEMENT INC., and
                 WILLIAM HALL

        Exercising my prerogative as a Senior Judge, I request that this civil
  action be reassigned.
